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                                                                                      District dKa!sa
RODNEY R. BRADSHAW
704 Clay Street                                                                     MAR 20 2015
                                                                               ~ecx:..,CIIl
Jetmore, Kansas 67854
620-357-1307




                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS
                                  WICHITA DIVISION

RODNEY R. BRADSHAW,                                  )
                                                     )
                        Plaintiff,                   )       No.: 6:15-cv-1086-MLB-KMH
                                                     )
BRUCE C. GATTERMAN, in his                     )
individual and representative capacity,        )             COMPLAINT
KYLER KNOBBE, in his individual and            )             JURY TRIAL DEMANDED
representative capacity, CHARLES HERD,         )
in his individual and representative capacity, )
RANDALL HENRY, in his individual and           )
representative capacity, CURTIS CAMPBELL, )
in his individual and representative capacity, )
MICHAEL HITZ, in his individual and            )
representative capacity JANICE BRADSHAW, )
JOYCE BRADSHAW, CHERYL BUCKNER, )
CAROL MIDDLETON, PAMELA BELL,                  )
DEBRA WEAVER, CORELlA SUE JOHNSON,)
JOHN and JANE DOE 1-10,                        )
                                                     )
                        Defendants.                  )

COMES NOW Plaintiff, RODNEY R. BRADSHAW, in pro per, and Complains ofthe

Defendants, each and every one of them, as follows:

                                     JURISDICTION and VENUE:

   1.      This matter is premised on 28 USC 1343(a)(3), 42 USC 1981, 42 USC 1983, 18 USC

           1961, et seq., and this Court's pendant and ancillary jurisdiction to entertain state law

           based claims in conjunction with causes of action premised on federal law.

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                                         PARTIES:

2.      Plaintiff, RODNEY R. BRADSHAW, is a resident ofHodgeman County, Kansas.

3.      Defendant BRUCE C. GATTERMAN, is upon information and belief a resident of

        Kansas and presently serves as the District Court Judge for Hodgeman County who is

        sued in both his individual and representative capacity as a conscious co-conspirator

        and party participant in the claims and causes of action set forth herein but said

        defendant's exposure for liability is limited to injunctive relief due to the judicial

        nature that said defendant serves in his representative capacity which is otherwise

        protected by judicial immunity. Said defendant can be served with the summons and

        complaint in this matter at his official offices located at 500 Main, Jetmore, KS 67854

        or wherever in the State of Kansas where the defendant may be found.

4.      Defendant KYLER KNOBBE, is, upon information and belief a resident of Kansas

        and is a licensed attorney in the State of Kansas and is otherwise subjected to the

        jurisdiction of this Court. Said defendant can be served with the summons and

        complaint in this matter at his offices located at 109 West Avenue "A", Cimarron, KS

        67835.

5.      Defendant CHARLES HERD, is, upon information and belief a resident ofKansas

        and is a licensed attorney in the State of Kansas and is otherwise subjected to the

        jurisdiction of this Court. Said defendant can be served with the summons and

        complaint in this matter at his offices located at 400 E. Walnut, Coldwater, KS 67029.


6.      Defendant RANDALL HENRY, is, upon information and belief a resident of Kansas

        and is a licensed attorney in the State ofKansas and is otherwise subjected to the

        jurisdiction of this Court. Said defendant can be served with the summons and

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         complaint in this matter at his offices located at 113 Broadway Ave., Sterling, KS

         67579.


7.       Defendant CURTIS CAMPBELL, is, upon information and belief a resident of

         Kansas and is a licensed attorney in the State ofKansas and is otherwise subjected to

         the jurisdiction of this Court. Said defendant can be served with the summons and

         complaint in this matter at his offices located at 222 South Main St., Cimarron, KS

         67835.


8.       Defendant MICHEAL HITZ, is, upon information and belief, a resident of the State

         of Kansas and can be served with the summons and complaint at his place of business

         located at Ford County State Bank, 322 Main Street, Spearville, KS 67876.



9.       Defendant JANICE BRADSHAW, is, upon information and belief, a resident of the

         State of Kansas and can be served with the summons and complaint at her residence

         which is 1373 E. Oklahoma Ave., Ulysses, KS 67880 or wherever she may be found

         in the State of Kansas.

10.      Defendant JOYCE BRADSHAW, is, upon information and belief, a resident of the

         State of Kansas and can be served with the summons and complaint at her residence

         which is 801 Minneola Rd., Dodge City, KS 67801 or wherever in the State of

         Kansas that she may be found.


11.      Defendant CHERYL BUCKNER, is, upon information and belief, a resident ofthe

         State of Kansas and can be served with the summons and complaint at her residence




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         which is 1409 9th Avenue, Dodge City, KS 67801 or wherever in the State of Kansas

         that she may be found.


12.      Defendant CAROL MIDDLETON, is, upon information and belief, a resident of

         the State ofKansas and can be served with the summons and complaint at her

         residence which is 226 Curtis Street, Hutchinson, KS 67502 or wherever she may be

         found in the State ofKansas.


13.      Defendant PAMELA BELL, is, upon information and belief, a resident of the State

         of Oklahoma and can be served with the summons and complaint at her residence

         which is 117 Payne St., Perkins, OK 74059.

14.      Defendant DEBRA WEAVER, is, upon information and belief, a resident ofthe

         State of Texas and can be served with the summons and complaint at her residence

         which is 164 Falcon Point Drive, Rockwell, TX 75032.


15.      Defendant CORELlA SUE JOHNSON, is, upon information and belief, a resident

         of the State of Kansas and can be served with the summons and complaint at her

         residence which is 3605 N. Greenwich Rd., Wichita, KS 67230 or wherever she may

         be found in the State ofKansas.

16.      Defendants JOHN and JANE DOE 1-10 are sued fictitiously and when their true

         names and identities are ascertained, Plaintiff will amend his pleadings to reflect said

         discoveries.




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                       COMMON NUCLEUS OF OPERATIVE FACTS:

17.      Decedent Paul Bradshaw passed on October 6, 2010 and appointed Plaintiff as the

         Executor thereof (see Exhibit "A" attached hereto and incorporated herein by

         reference).

18.      In addition to the responsibilities imposed by the Will of the Decedent, Plaintiffwas

         the lawful tenant under a valid real estate lease of certain property that was owned by

         the Decedent which contained specific provisions to insure that the property would

         remain under the direct control and direction of the Plaintiff (see Exhibit "B" attached

         hereto and incorporated herein by reference).

19.      That while properly executing the duties and responsibilities imposed upon Plaintiff

         as Executor of the Will referenced herein, the defendants herein undertook actions

         and efforts to wrongfully remove the Plaintiff as Executor and replace him with

         defendant Michael Hitz, who, as a co-conspirator became the principal person to

         execute and put in place the insidious conspiratorial objectives complained of herein

         which had the deleterious effects of destroying the intentions of the Decedent as

         contained in the will set forth in Exhibit "A" which also resulted in an obstruction of

         justice.

20.      This wrongful acts and misconduct commenced in this matter by way of the

         manipulation of a power of attorney that the decedent extended to defendants Pam

         Bell (Pam), Carol Middleton (Carol) and Cheryl Buckner (Cheryl) who are all sisters

         of the Plaintiff.

21.       At the time of the POA appointment, the decedent did not know that his daughters

         lacked the required knowledge and expertise to run and properly manage his farming

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         interests and in 2008 removed said persons and extended the power of attorney over

         all of his holdings real and personal, to the Plaintiff along with the primary

         responsibility for handling all medical decisions related to the health of the decedent.

22.      In addition to the foregoing, decedent and Plaintiff entered a ten (1 0) year lease

         agreement for the farm lands that were owned by the decedent (See Exhibit "B"

         attached hereto and incorporated herein by reference).

23.      It should be noted here that Plaintiff had rented farm land from the decedent for a

         total of seventeen (17) years and this fact is well known to all parties to this action.

24.      Other children of the decedent, in particular Pam, Carol, Cheryl, Janice and Joyce,

         voiced their objections but were all overruled by the decedent who was of sound mind

         and body at the time that the POA was extended to Plaintiff as well as the lease

         agreements and appointment of Plaintiff and Pam Bell as co-executors over the

         decedent's will.

25.       After the passing of the decedent, Plaintiff and the co-executor were properly issued

         Letters of Testamentary by the Court on or about December 17, 20 10.

26.       Said Plaintiff and Co-Executor were lied to and deceived by defendant attorneys

         KNOBBE, HERD, HENRY AND CAMPBELL (hereinafter referred to as "defendant

         attorneys") who had improperly determined and developed the conspiratorial nexus

         and strategy to wrongfully remove Plaintiff and the co-executor appointed by the

         decedent and replace them with defendant HITZ, a fellow co-conspirator who, upon

         information and belief, had previously worked on the improper manipulation and

         pilfering of other estates within the Hodgeman County Judicial District with said

         defendant attorneys.

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27.      From the time that defendant attorneys KNOBBE, CAMPBELL, HENRY and HERD

         with defendant HITZ and in conjunction with defendant GATTERMAN were in

         place, they undertook a conscious and deliberate pattern and practice to illegally and

         improperly manipulate and misuse the Probate Processes of the State ofKansas

         through the implementation of legal strategy and maneuvering which defendant

         GATTERMAN, as a conscious and willing co-conspirator participant, would approve

         in his official capacity as the Judge overseeing and presiding over the Probate case

         that involved the Plaintiff herein.

28.      That, upon information and belief, Plaintiff thereon alleges that defendants

         KNOBBE, CAMPBELL, HENRY, HERD, HITZ and GATTERMAN have been

         engaged in the improper administration of Probate Estates for an extended period of

         time where the ultimate intention of the decedent is disregarded and the fees and

         expenses of the administration of the estate, more often than not, ends up in the

         coffers of the defendants named herein through the decisions, orders, opinions and

         judgments that are entered into the official probate records by defendant

         GATTERMAN through the misuse of his official position.

29.      That the first objective ofthe conspiracy between said defendants, each and all of

         them, was the improper removal of the Plaintiff, in particular, as the executor of the

         estate of the decedent.

30.      This was accomplished by the lies and deceitful misconduct by the defendant

         attorneys who made material misrepresentations of fact and law to cajole and

         convince Plaintiff that his removal as executor was imminent and unavoidable.




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31.       These lies and misrepresentations of fact were made by said defendant attorneys

          because they had already acquired the agreement by defendant GATTERMAN that

          the motion to replace Plaintiff would be granted by the Court.

32.       Consistent with the allegations contained herein, defendant GATTERMAN granted

          the requested relief to remove Plaintiff and, pursuant to the conspiratorial strategy of

          the defendants, appointed defendant IDTZ as the administrator of the Estate of the

          decedent in furtherance ofthe conspiratorial objectives and in violation ofKansas

          law.

33.       Other examples of the misconduct of the defendants include but are not limited to the

          items of concern that are contained in Exhibit "C" attached hereto and incorporated

          herein by reference.

34.       At all times complained ofherein, defendants JANICE BRADSHAW, JOYCE

          BRADSHAW, CHERYL BUCKNER, CAROL MIDDLETON, PAMELA BELL,

          DEBRA WEAVER and CORELlA SUE JOHNSON, ratified, agreed and approved of

          the improper acts of deceit, manipulation and misconduct, legal and professional, that

          defendants KNOBBE, CAMPBELL, HENRY, HERD, IDTZ and GATTERMEN

          originated and implemented to improperly take, misappropriate and deplete assets of

          the Estate of the decedent, all defendants were then and continue to be, the agents of

          each other in all acts complained of herein.

3 5.      That each and every step taken in the handling of the probate of the Estate of the

          decedent complained of herein was done in a manner that accomplished the

          conspiratorial objectives that was developed, deployed and executed by defendants

          KNOBBE, CAMPBELL, HENRY and HERD with defendant IDTZ and in

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         conjunction with defendant GATTERMAN acting in his official capacity as the

         presiding Judge and fellow co-conspirator.

36.      That as a direct result of the conspiratorial objectives and misconduct ofthe

         defendants herein, Plaintiffwas compelled to pay $264,000.00 in falsely assessed

         penalties and related costs in addition to the derogation of the land that he held a valid

         lease on for ten (10) years which appears to violate K.S.A. §16-102 .

                                            . COUNTI


                                      RICO VIOLATIONS


Plaintiff repeats andre-alleges paragraphs 1 through 36, as if fully set forth herein in full and

further complains ofthe defendants, each and all ofthem, as follows:

37.      At all relevant times, Defendants herein were "persons" within the meaning ofRICO

         18 USC 1961(3) and 1962(c).

38.      At all relevant times, the defendant parties formed an association in fact for the

         purpose of engaging in the conduct complained of herein and this association in fact

         was and is an "enterprise" within the meaning ofRICO 18 USC 1961(4).

39.      At all relevant times, this enterprise comprised of the defendants herein, was engaged

         in, and its activities affected interstate commerce, within the meaning ofRICO 18

         USC 1962(c).

40.      At all relevant times the defendants herein and others presently unknown to Plaintiff,

         associated with this enterprise and conducted or participated, directly or indirectly, in

         the conduct of the enterprise's affairs through a "pattern of racketeering activity"

         within the meaning ofRICO, 18 USC 1961(5) in violation ofRICO, 18 USC 1962(c).


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41.      Specifically, at all relevant times, defendants and the other co-conspirators, presently

         unknown to Plaintiff, engaged in "racketeering activity" within the meaning of 18

         USC 1961(1) by engaging in the acts set forth above. The acts set forth above

         constitute a violation of one or more of the following statutes: KSA 21-6501, the state

         law extortion statute as set forth in RICO 18, USC 1961 (1)(A);18 USC 1341 (mail

         fraud); 18 USC 1343 (wire fraud); 18 USC 1344 (financial institution fraud); 18 USC

         1503 (obstruction of justice); 18 USC 1513 (retaliating against a witness, victim or

         informant); 18 USC 1951 (interference with interstate commerce and extortion).

42.      In additions said defendants are in violation of several Kansas Statutes such as KSA

         21.3818 false reporting of a crime as committed by Defendant Janice Bradshaw and

         prosecuted in the Court where defendant GATTERMAN was presiding.

43.      Defendant GATTERMAN, through utilization ofhis respective offices, staff and

         influence, with the assistance and participation of defendant attorneys, all in violation

         of their oaths of office and duties as officers of the Court and in violation of Kansas

         State Bar Rules ofProfessional Conduct, each committed and/or aided and abetted

         the commission oftwo or more of these acts of racketeering activity.

44.      The acts of racketeering activity referred to herein constitutes a "pattern of

         racketeering activity" within the meaning of RICO, 18 USC 1961 ( 5). The acts

         alleged were related to each other by virtue of common participants, common victim

         and a common method of commission, having as the common purpose and common

         result of extorting money through the unconstitutional utilization of the Probate

         Division of the State civil judicial process to pilfer, divert and otherwise deplete

         Estates of decedents in the Judicial District presided over by defendant

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         GATTERMAN which violates the U.S. Constitutional Due Process Clause of the 14th

         Amendment.

45.      The pattern of racketeering activity has continued, unabated, since its inception and is

         threatened to continue longer but for the institution of this action to enjoin the

         constitutionally impermissible conduct of the defendants herein.

46.      The Plaintiff has been and continues to be irreparably damaged by the acts and

         conduct complained of herein at the hands of defendants.

                                          COUNT II


                                    RICO CONSPIRACY


Plaintiff repeats and re-alleges paragraphs 1 through 46, as if fully set forth herein in full and

further complains of the defendants, each and all of them, as follows:

47.      At all relevant times, Plaintiffwas a "person" within the meaning ofRICO, 18 USC

         1961(3) and 1964(c).

48.      At all relevant times, defendants, each ofthem, were a "person" within the meaning

         ofRICO, 18 USC 1961(3) and 1964(c).

49.      At all relevant times, defendants had formed an association-in-fact for the purpose of

         engaging in the conduct complained ofherein. This association-in-fact was and is, an

         "enterprise" within the meaning ofRICO, 18 USC 1962(c).

50.      As set forth in paragraphs 17 through 36, defendants, each and all ofthem,

         individually and collectively, associated with this enterprise and conducted or

         participated, directly or indirectly, in the conduct of the enterprise's affairs through a




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         "pattern ofracketeering activity" within the meaning ofRICO, 18, USC 1961(5), in

         violation ofRICO, 18 USC 1962(c).

51.      At all relevant times, defendants and other co-conspirators, presently unknown to

         Plaintiff, were each and all associated with the enterprise and agreed and conspired to

         violate 18 USC 1962, that is, all defendants agreed to conduct and participate, directly

         and/or indirectly, in the conduct of the affairs of the enterprise through a pattern of

         racketeering activity, in violation of 18 USC 1962(d).

52.      Defendants and their unknown co-conspirators, committed and caused to be

         committed a series of overt acts in furtherance of the Conspiracy and to affect the

         objects thereof, including but not limited to the acts set forth above and below.

53.      The conduct ofthe defendants and their unknown co-conspirators, has had an adverse

         effect on interstate commerce and the Plaintiff has directly suffered irreparable harm

         and damage as the direct result and proximate cause thereof

                                         COUNT Ill


                            DEPRIVATION OF CIVIL RIGHTS


                                         42   usc 1983
Plaintiff repeats andre-alleges paragraphs 1 through 53, as iffully set forth herein in full and

further complains of the defendants, each and all ofthem, as follows:

54.      That the actions of defendant GATTERMAN were undertaken under color of Kansas

         Law.




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55.      That said actions by defendant GATTERMAN, has deprived the Plaintiff of rights,

         privileges and immunities protected by the Constitution and laws of the United States

         of America.


56.      This Court has jurisdiction over this action under 28 USC 1343(a)(3) for violations of

         constitutional rights as provided for in 42 USC 1983. Plaintiff seeks injunctive relief

         and monetary damages.

57.      Plaintiff seeks redress for violation of his right pursuant to the Fourth Amendment of

         the United States Constitution, to be free from illegal seizures; the Plaintiff's right to

         be free from harassment and intimidation by the Hodgeman County Sheriff's Office,

         District Attorney and the Courts presided over by defendant; the Plaintiffs right to be

         free from malicious prosecution, malicious abuse of process and unlawful seizure as

         provided for by the United States Constitution and the Plaintiff's rights to due process

         oflaw as guaranteed by the Fourth and Fourteenth Amendments to the United States

         Constitution.

                                              COUNT IV


                                    42 USC 1981 VIOLATION:

Plaintiff repeats andre-alleges paragraphs 1 through 57, as if fully set forth herein in full and

further complains of the defendants, each and all ofthem, as follows:

58.      That the actions of defendants herein violates the "equal rights under the law"

         provisions of 42 USC 1981 in that Plaintiff is being denied the full and equal benefit

         of all laws and proceedings for the security of persons as is enjoyed by white persons

         and further, Plaintiff is being subjected to punishment, pains and penalties in excess

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         of that accorded to white citizens of the state that are similarly situated impermissibly

         based on Plaintiffs race.

                                             COUNTV.

                                      ABUSE OF PROCESS:

Plaintiff repeats and re-alleges paragraphs 1 through 58, as if fully set forth herein in full and

further complains of the defendants, each and all of them, as follows:


59.      That the intentional acts of misconduct complained of herein constitutes the

         knowingly illegal or improper use and manipulation of legal process which was

         engaged in by the defendants herein to harass and cause hardship to the Plaintiff

         which resulted in severe and substantial damage to the Plaintiff for which the actions

         of the defendants herein are the sole and proximate cause thereof


                                             COUNT VI


                                   TORTIOUS INTERFERENCE:


Plaintiff repeats and re-alleges paragraphs 1 through 59, as if fully set forth herein in full and

further complains of the defendants, each and all of them, as follows:

60.      Plaintiff had a valid and binding lease for certain real property for a ten (10) year

         period on terms and conditions contained therein.

61.      That all defendants herein were aware and had personal knowledge of the existence

         of said lease contract.


62.          That the defendants herein procured a breach of the terms and conditions of said

         lease contract.

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63.       That said defendants had no legal right or justification to interfere or precipitate the

         breach thereof.


64.      Plaintiff has been severely and substantially damaged as the direct and proximate

         cause ofthe defendant's actions complained ofherein.


WHEREFORE, Plaintiff prays for judgment against the defendants herein as follows:

a. That Process Issue according to Law; and

b. That Plaintiff be granted an injunction against any further orders, judgments or rulings in

      any case of which the Plaintiff is involved by defendant GATTERMAN.

c. Damages against the defendants in amount not less than seven million ($7,000,000)

      dollars and then multiplied by three as required by the RICO statutes on Count I; and

d. Damages in an amount not less than seven million ($7,000,000) dollars on Count II; and

e. Damages in an amount not less than seven million ($7,000,000) dollars on Count III; and

f.    Damages in an amount not less than seven million ($7,000,000) dollars on Count IV with

      a determination of punitive damages in an amount not less than determined by an

      impartial jury;

g. Damages in an amount not less than seven million ($7,000,000) dollars on Count V; and

h. Damages in an amount not less than seven million ($7,000,000) dollars on Count Vi; and

1.    The return of all lands taken by way of the wrongful actions occasioned by the improper

      actions of the defendants herein; and

J.    The return ofthe $264,000 that was wrongfully taken from Plaintiff by defendants; and

k. Costs associated with the prosecution of this action; and

l.    PlaintiffDemands a Jury Trial on all factual issues; and

m. Any and all other relief that this Court determines is just and proper.
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DATED thislqfay ofMarch, 2015.

Respectfully submitted,

~(\.~
Rodney R. Bradshaw
 Plaintiff Pro Se
 704 Clay Street
 Jetmore, Kansas 67854
 620-357-1307
   <De_s\ :J~~~~ ~--r -~~"'., ~ \




                                          VERIFICATION:

 I, RODNEY R. BRADSHAW, do hereby verify that I caused the foregoing Complaint to be

 drafted and that I have reviewed same and further verify that said allegations are true and

 accurate based on my own personal knowledge except as to those matters alleged upon

 information and belief and as to those matters, I have a valid good faith basis to assert same as

 true.
                 ~
 Dated this'ZO day ofMarch, 2015




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